Case: 3:12-cV-OOOO7-bbc Document #: 10 Filed: 03/26/12 Page 1 of 1

emg / 111\0;) 50 )[19[[) ‘Jalauadd() land

 

 

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eq Ae\u 59![91 q;);qm uodn lump 2 mms 01 zuan 103 asea sng Su!ssgws!p sluepua}ap

JO 10sz ul palan S! w@wBP“! wm clemonqu GNV climacmo 51 11

 

'p;)x;)pusl uaaq
seq uo!sgoap 2 pue palapgsuoz) uaaq ;)Aeq sanssg aq_L 'Bugpgsald qqm[)
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'sluepuajaq

‘VHXIEICI `D ANOH_LNV `}LLI.V
Pue NV':I'PW "I SWDHOG

qu-L-Av-zr 'A
exst 11/\1:) v NI memoch ‘quzvld

‘VNIHHH'OZNVW `W EISO[

 

NISNODSIM :IO JDIH.LSI(I NHH.LSEIM E[H.L HO:I
.LHHO§) l[)IHlSI(I S':I_LV.LS G':`I.LINH EIHl NI

